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DISTRICT OF DELAWARE
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      17-51210

      Mesabi Metallics Company LLC et al v. Cleveland-Cliffs, Inc. et al




      Case Type :                       ap
      Case Number :                     17-51210
      Case Title :                      Mesabi Metallics Company LLC et al v. Cleveland-Cliffs, Inc. et al
      Judge :                           Craig T. Goldblatt
      Courtroom :                       3rd Floor Courtroom 7, Wilmington, DE
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